Case 0:20-cv-61087-RKA Document 7 Entered on FLSD Docket 06/19/2020 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 20-60056-CIV-ALTMAN

 VIRGINIA ALDANA ALASTRA,

        Plaintiff,
 vs.

 BCA FINANCIAL SERVICES, INC, and
 SOUTH BROWARD HOSPITAL DISTRICT,

       Defendants.
 _________________________/


                       ORDER SCHEDULING STATUS CONFERENCE

        The Plaintiff’s Complaint alleges violations of the Fair Debt Collection Practices Act (the

 “FDCPA”), 15 U.S.C. §§ 1692–1692p, et seq. Consistent with the Court’s practices in FDCPA

 cases, counsel are directed to appear at a status conference on Wednesday, June 24, 2020, at

 1:00 p.m. The conference will be conducted telephonically. At that time, the parties shall dial 1-

 888-363-4734 and enter access code 9127026, followed by the # symbol. Counsel must not

 utilize speakerphone functionality during the hearing. If possible, counsel should use a landline.

 Instructions for the status conference are as follows:

           1.   The parties are not personally required to appear, but a representative of each

                party with full authority to enter a full and complete compromise must appear.

           2.   Multiple cases will be called at once, at which time the attorneys will meet in the

                Court’s attorney conference rooms to discuss the possibility of reaching an

                amicable resolution. The Court will not oversee these discussions.

           3.   If an agreement is reached, the parties shall promptly notify the Court.
Case 0:20-cv-61087-RKA Document 7 Entered on FLSD Docket 06/19/2020 Page 2 of 2



         4.    The Plaintiff’s counsel must appear with the entire case file. If any of the

               Defendants have not yet appeared, the Plaintiff must serve a copy of this Order on

               any such Defendant within two business days of the date of this Order.

         5.    The Defendant must appear with all evidence it has in support of its defenses.

         6.    The Clerk is DIRECTED to enter this Order in the following cases:

              a.       20-cv-60500 – Philippe v. Midland Funding, LLC, et al.,

                      i.      (call in: 1:10 p.m.)

              b.       20-cv-61054 – Diaz et al., v. Mariner Finance, LLC

                      i.      (call in: 1:20 p.m.)

              c.       20-cv-61104 – Barber v. Midland Funding, LLC.

                      i.      (call in: 1:30 p.m.)

              d.       20-cv-61087 – Concepcion v. Frost-Arnett Company, et al.,

                      i.      (call in: 1:40 p.m.)

              e.       20-cv-60601 – Waiters v. Alliance CAS, LLC.

                      i.      (call in: 1:50 p.m.)

              f.       20-cv-60611 – Turner, et al., v. Comenity Capital Bank.

                      i.      (call in: 2:00 p.m.)

       DONE AND ORDERED in Fort Lauderdale, Florida, this 19th day of June 2020.



                                                       _________________________________
                                                       ROY K. ALTMAN
                                                       UNITED STATES DISTRICT JUDGE
 cc:   counsel of record




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